Case 2:04-CV-02566-SHI\/|-tmp Document 24 Filed 06/30/05 Page 1 of 2 _Page|D 33

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M)MASM. WULD
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¥3._;. s *
Joe: BRUCE, JR. and ANNIE BRUCE, m 9' “" MFM
Plaintiffs,
va Cv¢ N°l 04_2566_Ma-
TEN'N'ESSEE VALLE'Y IL'UTI'IORITYlr et al . ,
Defendants.
J'UDGMENT
Decision, by' Court. This action. came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed
with prejudice, in accordance with the Agreed Order of Dismissal,
docketed June 24, 2005. Each party shall bear its own costs,
expenses and attorneys' fees.

APPROW yA/VL’

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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Honorable Samuel Mays
US DISTRICT COURT

